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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES                       )
                                    )
v.                                  )                  Case No. 1:21-cr-40
                                    )
QUAGLIN                             )
____________________________________)

                   FIRST SUPPLEMENT TO REPLY TO RESPONSE TO
                           THIRD MOTION FOR RELEASE

TO THE HONORABLE COURT:

       This supplement is to notify the Court that subsequent to Mr. Quaglin’s filing a brief

regarding the Jail’s refusal on February 22, 2023, to allow undersigned counsel to visit Mr.

Quaglin in the Jail and to leave Mr. Quaglin his discovery, undersigned counsel was able to do

both. On February 28, 2023, undersigned counsel visited Mr. Quaglin and was able to leave a

hard drive with the Jail’s litigation department, though undersigned counsel cannot confirm that

Mr. quaglin is able to access the hard drive because Mr. Quaglin is being illegally punished in

violation of his constitutional rights and is not permitted to make phone calls. Undersigned

counsel intends to visit Mr. Quaglin again soon to ensure that he is provided with access.

       Nothing has changed regarding the Jail’s inability to provide Mr. Quaglin with a gluten

free diet or the other allegations of civil rights violations in prior briefs. For example, on the day

undersigned counsel visited, Mr. Quaglin reported that he was provided a meal with gluten that

he could not eat. Mr. Quaglin has carefully documented his treatment and has used the official

grievance procedures to no avail.

       Undersigned counsel intends to visit again soon and will keep the Court notified of any

developments until a hearing is granted on this matter.
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Dated: March 1, 2023                                       Respectfully submitted,

                                                           /s/ Jonathan Gross
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                               CERTIFICATE OF SERVICE

 I hereby certify that a copy of the foregoing is being served on opposing counsel via email on

                                        March 1, 2023

                                      /s/ Jonathan Gross
                                        Jonathan Gross
